      Case 4:05-cr-00454-CW        Document 126       Filed 07/07/06     Page 1 of 1


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 3 Attorney for Defendant
   FRANCES ALIGANGA
 4

 5                                 UNITED STATES OF AMERICA
 6                            NORTHERN DISTRICT OF CALIFORNIA

 7                                      OAKLAND DIVISION

 8

 9 UNITED STATES OF AMERICA,                    ) No.: CR05-00454 CW
                                                )
10          Plaintiff,                          )
                                                ) ORDER TO EXONERATE
11     v.                                       ) PROPERTY BOND
                                                )
12
     FRANCES ALIGANGA,                          )
13                                              )
            Defendant.                          )
14                                              )
15          GOOD CAUSE HAVING BEEN SHOWN,
16
                    IT IS HEREBY ORDERED that the Deed of Trust executed by Patrick and
17
     Rochelle Siu on August 5, 2005 and the Deed of Trust executed by William and Rosette Flores on
18 August 4, 2005 as security for and appearance bond in the case of United States v. Frances

19 Aliganga, CR-05-00454-CW be exonerated and that the clerk of the court issue a deed of

20 reconveyance to said properties.

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22 IT IS SO ORDERED.

23                                              /s/ CLAUDIA WILKEN
     DATED:         7/7/06                      ________________________________________
24
                                                US DISTRICT JUDGE CLAUDIA WILKEN
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